EXHIBIT
 THREE
                                                McGuireWoods LLP                         John S. Moran
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Monday, August 21, 2023

By E-mail & Federal Express

Fani T. Willis
Fulton County District Attorney
136 Pryor Street
Atlanta, GA 30303
(404) 612-8904
fani.willisda@fultoncountyga.gov

                            Georgia v. Meadows, No. 1:23-cv-03621-SCJ (N.D. Ga.)

District Attorney Willis:

I spoke with your team this morning about a consent bond for Mark R. Meadows. We are reviewing
your Office’s proposed terms and will discuss them with our client. We understand that you have
set a deadline of this Friday, August 25, 2023, at Noon for voluntary surrender.

We respectfully request a modest extension of that deadline. As you know, Mr. Meadows has
removed the case against him to federal court. Judge Steve C. Jones issued an order last Wednesday
declining summary remand and setting a hearing for one week from today—Monday, August 28,
at 10 AM—to address removal. We believe it would be eminently reasonable, and the best
allocation of the parties’ resources, to defer voluntary surrender for Mr. Meadows until next week.

If you agree, we will be prepared to meet and confer with you immediately following the federal
court hearing—which is scheduled for less than one business day after the current deadline. We
can then discuss the best path forward based on the outcome of the hearing, including a prompt
voluntary surrender in Fulton County, if appropriate.

Thank you for your consideration. We would appreciate your reply at your soonest convenience.

                                                                                  Sincerely,



                                                                                  John S. Moran
                                                                                  Counsel to Mark R. Meadows

cc: George J. Terwilliger, III, McGuireWoods LLP


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